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         EXHIBIT NNN
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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK

 EDVIN RUSIS, HENRY GERRITS, PHIL
 MCGONEGAL, and DAVID HO ENG,
 individually and on behalf of all other similarly
                                                      Case No. 1:18-cv-08434 (VEC)
 situated individuals,
                                                      ECF Case
                                   Plaintiffs,

                           v.

 INTERNATIONAL BUSINESS MACHINES
 CORP.,

                                   Defendant.

                DEFENDANT IBM’S FIRST SET OF INTERROGATORIES
                       DIRECTED TO OPT-IN ROSE KAPOR

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, International

Business Machines Corporation (“IBM” or “Defendant”) hereby requires that Opt-In Rose Kapor

(“Opt-In”) answer fully and separately in writing and under oath the following interrogatories

within 30 days after the date of service.

                                             DEFINITIONS

       The definitions and rules of construction set forth in Rule 26.3 of the Local Rules of the

United States District Court for the Southern District of New York shall apply to these

interrogatories. In addition, and unless a contrary meaning appears in context, the following

definitions shall apply:

       A.      “Opt-In,” “you,” or “your” refers to Rose Kapor and includes your present and

former representatives, agents, counsel, consultants, investigators, family members, or any other

person acting or purporting to act on your behalf.
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          B.    “IBM” refers to Defendant International Business Machines Corporation and

includes its predecessor companies, parents, subsidiaries, affiliates, divisions, agents, officers,

directors, employees, representatives, or any other person acting on IBM’s behalf.

          C.   The terms “relating to” and “relate to” mean directly or indirectly mentioning,

describing, pertaining to, being connected with, or reflecting upon the subject matter of the

specific request.

          D.   The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

          E.   The terms “all,” “any,” and “each” shall be construed as encompassing any and

all.

          F.   The use of the singular form of any word includes the plural and vice versa.




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                                  GENERAL INSTRUCTIONS

       1.      After answering these Interrogatories, you must supplement or correct any

responses later learned to be incomplete or incorrect immediately upon learning that a prior

response was incomplete or incorrect.

       2.      These Interrogatories are to be considered as continuing, and you are to provide,

by way of supplementary answers thereto, such additional information as you or any other

person(s) acting on your behalf may hereafter obtain, which will supplement or otherwise modify

your answers to these Interrogatories, in accordance with the Federal Rules of Civil Procedure.

       3.      All information requested herein is to be set forth if it is in the possession or

control of, or is available or accessible to, you or any of your agents, consultants, counsel,

investigators, representatives, or any other person or persons acting for you or on your behalf.

       4.      If you cannot answer certain of the following Interrogatories in full after

exercising due diligence to secure the information to do so, answer to the extent possible and

explain your inability to provide a complete answer. State whatever information or knowledge

you have about the unanswered portion of any Interrogatory.

       5.      If any information called for by an Interrogatory is withheld on the basis of a

claim of privilege, set forth the nature of the claimed privilege and describe the nature of the

information with respect to which it is claimed.

       6.      Whenever an Interrogatory requests the identification of a document, the answer

shall state the name, address, position, and organization of the author and each recipient of the

document, the custodian of the document, the date of the document, and a brief description of the

subject matter of the document.




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       7.      Whenever an Interrogatory requests the identity of a person, state his or her full

name, present or last known address, telephone number, and position of employment at the time

in question.

       8.      Whenever an Interrogatory requests the identity of an entity, state its name,

address, telephone number, and the type of business in which the entity engages.

       9.      Whenever an Interrogatory seeks a description of an act, transaction, occurrence,

dealing, or instance, state the date when it occurred, the place where it occurred, the identity of

each person participating therein, the person on whose behalf each such person participated or

purported to participate, the nature and substance of all conversations or oral communications

occurring during, or in connection with the act, transaction, occurrence, dealing or instance, and

identify all documents referring thereto or reflecting the act, transaction, occurrence, dealing, or

instance.

       10.     Whenever an Interrogatory asks for a date, state the exact day, month, and year, if

ascertainable, or, if not, the best approximation thereof.

       11.     To the extent you contend that answering any Interrogatory propounded herein

would be unduly burdensome, please contact Defendant’s counsel at any time, and an attempt

will be made to resolve any purported problem of undue burden orally or in writing.

       12.     If you do not understand a term used herein, or what information is being sought

by an Interrogatory, please contact Defendant’s counsel at any time, and an attempt will be made

to resolve any definitional or comprehension problems orally or in writing.

       13.     Unless specifically noted in a particular Interrogatory, there are no time limits on

any of these Interrogatories.




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                                INTERROGATORIES

INTERROGATORY NO. 1:

     Identify the reason you were told you were being separated from IBM.

ANSWER:




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Dated: New York, New York            Respectfully submitted,
       August 20, 2021
                                         /s/ Matthew W. Lampe
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                                         Ira Handa
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                                         mwlampe@jonesday.com
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                                         Alison B. Marshall
                                         JONES DAY
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                                         Washington, D.C. 20001
                                         abmarshall@jonesday.com

                                     Attorney for Defendant
                                     International Business Machines Corporation




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 20, 2021, I served a copy of the foregoing by e-mail on

Opt-In’s following attorneys of record:

                         Shannon Liss-Riordan
                         Thomas Fowler
                         Zachary L. Rubin
                         LICHTEN & LISS-RIORDAN, P.C.
                         729 Boylston Street, Suite 2000
                         Boston, MA 02116
                         sliss@llrlaw.com
                         tfowler@llrlaw.com
                         zrubin@llrlaw.com



                                                       /s/ Ira Handa
                                                       Ira Handa
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